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 1                                                THE HONORABLE BARBARA J. ROTHSTEIN
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                               UNITED STATES DISTRICT COURT
 7                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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 9   AMTAX HOLDINGS 260, LLC, an Ohio
     limited liability company, AMTAX               No. 2:20-cv-01698-BJR
10   HOLDINGS 114, LLC, an Ohio limited
     liability company, and ALDEN TORCH             JOINT ORDER GRANTING
11   FINANCIAL LLC, a Delaware limited              STIPULATION TO EXTEND DEADLINE
     liability company,                             TO ANSWER OR RESPOND TO
12                                                  COMPLAINT
                          Plaintiffs,
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            v.
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     WASHINGTON STATE HOUSING
15   FINANCE COMMISSION, a public body
     Corporate and politic of the State of
16   Washington, BILL RUMPF, an individual,
     LISA J. BROWN, an individual, DIANE
17   KLONTZ, an individual, DUANE
     DAVIDSON, an individual, JASON
18   RICHTER, an individual, RICH
     NAFZIGER, an individual, ALBERT
19   TRIPP, an individual, RANDY
     ROBINSON, an individual, ALISHIA
20   TOPPER, an individual, LOWEL
     KRUEGER, an individual, KEN A.
21   LARSEN, an individual, and WENDY L.
     LAWRENCE, an individual,
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                          Defendants.
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25          This matter comes before the Court on the parties’ Stipulation to Extend Defendants’
26   Deadline to Answer or Respond to Plaintiffs’ Complaint until January 19, 2021. Dkt. No. 18.




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               Case 2:20-cv-01698-BJR Document 19 Filed 12/08/20 Page 2 of 2




 1   The Court, having considered the parties’ stipulation, the applicable law, and the relevant
 2   portions of the record, GRANTS the stipulation and sets January 19, 2021, as Defendants’
 3   deadline to answer or respond to Plaintiffs’ Complaint.
 4          IT IS SO ORDERED.
 5          Dated this 8th day of December 2020.
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                                                          A
                                                          Barbara Jacobs Rothstein
 8                                                        U.S. District Court Judge

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